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15
                                IN THE UNITED STATES DISTRICT COURT
16
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
17

18
      B.B., M.B., T.H. and M.H., Individually and on ) Case No. 2:23-cv-06893-JWH-JDE
19    Behalf of All Others Similarly Situated,       )
                                                     )
20                   Plaintiffs,                     ) JOINT STIPULATION AND [PROPOSED]
                                                     ) ORDER TO EXTEND TIME FOR FILING
21           v.                                      ) RESPONSIVE PLEADING [FED. R. CIV.
                                                     ) P. 6(B)(1) AND L.R. 8-3]
22    FUJIFILM IRVINE SCIENTIFIC, INC.,              )
                                                     ) Complaint Filed: August 22, 2023
23                   Defendant.                      ) Trial Date: None Set
                                                     )
24                                                   )
                                                     )
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                   JOINT STIPULATION TO EXTEND TIME FOR FILING RESPONSIVE PLEADING
                                    [CASE NO. 2:23-CV-06893-JWH-JDE]
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 1          IT IS HEREBY STIPULATED by and between the parties, Plaintiff B.B., M.B., T.H., and

 2   M.H. (collectively, “Plaintiffs”) and Defendant FUJIFILM Irvine Sciences, Inc. (“FUJIFILM” or

 3   “Defendant”), through their respective counsel of record, as follows:

 4          WHEREAS, on August 22, 2023, Plaintiffs filed their Complaint in this action;

 5          WHEREAS, on August 25, 2023, Plaintiffs served the Summons and Complaint on

 6   Defendant FUJIFILM;

 7          WHEREAS, on September 13, 2023, the parties agreed to extend the deadline for Defendant

 8   to answer or otherwise respond to the Complaint to October 15, 2023, in furtherance of the Parties’

 9   ongoing discussions regarding Plaintiffs’ claims;

10          WHEREAS, Defendant has requested, and Plaintiff has agreed, to extend the deadline for

11   Defendant to answer or otherwise respond to the Complaint to November 14, 2023, to allow the

12   parties to continue discussions concerning this matter;

13          NOW THEREFORE, IT IS HEREBY STIPULATED THAT Defendant shall answer or

14   otherwise respond to the Complaint on or before November 14, 2023.

15          IT IS SO STIPULATED.

16
     Dated: October 6, 2023                           POULIN | WILLEY | ANASTOPOULO, LLC
17
                                                      By: /s/ Paul J. Doolittle
18                                                       Eric M. Poulin (CA SBN 298476)
                                                         Blake G. Abbott (pro hac vice pending)
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                                                         Paul J. Doolittle (pro hac vice pending)
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                                                          Attorneys for Plaintiffs
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                  JOINT STIPULATION TO EXTEND TIME FOR FILING RESPONSIVE PLEADING
                                   [CASE NO. 2:23-CV-06893-JWH-JDE]
Case 2:23-cv-06893-JWH-JDE Document 25 Filed 10/06/23 Page 3 of 4 Page ID #:106




 1   Dated: October 6, 2023                    SIDLEY AUSTIN LLP

 2                                             By: /s/ Alycia A. Degen
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 3                                                Alycia A. Degen (SBN 211350)
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 6
                                                  Attorneys for Defendant
 7                                                FUJIFILM Irvine Scientific, Inc.

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                 JOINT STIPULATION TO EXTEND TIME FOR FILING RESPONSIVE PLEADING
                                  [CASE NO. 2:23-CV-06893-JWH-JDE]
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 1                                      SIGNATURE ATTESTATION

 2          I am the ECF User whose identification and password are being used to file the foregoing

 3   Joint Stipulation and [Proposed] Order. Pursuant to Civil Local Rule 5-1(i), I hereby attest that the

 4   other signatories have concurred in this filing.

 5

 6   Dated: October 6, 2023                       By: /s/ Alycia A. Degen
                                                      Alycia A. Degen
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                   JOINT STIPULATION TO EXTEND TIME FOR FILING RESPONSIVE PLEADING
                                    [CASE NO. 2:23-CV-06893-JWH-JDE]
